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 4
 5   Attorney for Defendant
     GARY JASON GRANT
 6
 7
                                     IN THE UNITED STATES DISTRICT COURT
 8
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA                           No. 2:10-CR-0237
11
12                        Plaintiff,                    STIPULATION AND [PROPOSED]
                                                        ORDER
13             vs.
14                                                      JUDGE: Hon. Garland Burrell
     GARY JASON GRANT
15
16
                          Defendant
17
18             It is hereby stipulated and agreed to between the United States of America through

19   Samuel Wong, Assistant U.S. Attorney, and the defendant, GARY JASON GRANT by and
20
     through his counsel, PREETI K. BAJWA, Attorney at Law that the Defendant may travel from
21
     California to North Carolina for work-related purposes on January 10, 2012 through January 13,
22
23   2012. Mr. Grant's electronic monitor device will remain on his person and will be suspended for
24
     the duration of this travel. Upon Mr. Grant's return to California on January 13, 2012, the
25
     electronic monitoring will be reactivated.
26
27
28


     Stip & Order for Grant Travel                -1-
     01/05/12
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 1   DATED: January 5, 2012
 2                                              Respectfully submitted,
 3
                                                _/s/ Preeti Bajwa_________________
 4                                              PREETI K. BAJWA
                                                Attorney for Defendant
 5
                                                GARY JASON GRANT
 6
 7
     DATED: January 5, 2012                    BENJAMIN WAGNER
 8                                             United States Attorney

 9                                              _/s/ Samuel Wong
10                                              SAMUEL WONG
                                                Assistant U.S. Attorney
11                                              Attorney for Plaintiff
12
13
14
                                               ORDER
15
16             IT IS SO ORDERED. The Defendant may travel from California to North Carolina for

17   work-related purposes on January 10, 2012 through January 13, 2012. Mr. Grant's electronic
18
     monitor device will remain on his person and will be suspended for the duration of this travel.
19
     Upon Mr. Grant's return to California on January 13, 2012, the electronic monitoring will be
20
21   reactivated.
22
     1/5/12
23
                                           GARLAND E. BURRELL, JR.
24                                         United States District Judge
25
26
27
28


     Stip & Order for Grant Travel            -2-
     01/05/12
